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                    UNITED STATES BANKRUTCY COURT
               FOR THE EASTERN DISTRICT OF PENNSYLVANIA
___________________________________

IN RE: John H. Sanderson, III               :      Case No. 21-12084-elf
                                            :
               Debtor                       :      Chapter 13
                                            :
___________________________________

                                            ORDER

         AND NOW, this ____________ day of _________________________ , 2021, upon

consideration of Movant’s Motion for Relief from the Automatic Stay, and finding that the

Debtor has failed to pay rent due and owing for August, September, and October 2021, it is

hereby ORDERED and DECREED that the Movant’s Motion is granted and that the Movant

may proceed with the hearing to retake possession of 121 Matlack Drive, Maple Shade, NJ

08052.



                                            BY THE COURT:



                                            __________________________________________
                                                               Hon. Eric L. Frank, U.S.B.J.


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